Case 1:18-cv-00950-LO-JFA Document 60 Filed 12/17/18 Page 1 of 5 PageID# 782




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

SONY MUSIC ENTERTAINMENT,et ai.

                       Plaintiffs,

       V.                                          Civil Action No. 1:18cv0950(LO/JFA)

COX COMMUNICATIONS,INC.,et ai.

                       Defendants.



                             RULE 16fB)SCHEDULING ORDER


       Upon consideration of the representations made by the parties in their Proposed Joint

Discovery Plan Pursuant to Rule 26(f)(Docket no. 53)("Joint Discovery Plan"), and taking note

ofthe Scheduling Order entered in this case(Docket no. 52),the court makes the following

rulings:

       1.      All discovery shall be concluded by June 14,2019.

       2.      The Joint Discovery Plan filed by the parties is approved as to parts I-IV and shall

control discovery to the extent of its application unless further modified by the court.

       3.      At the request ofthe parties, the initial pretrial conference scheduled for

Wednesday, December 19,2018 at 11:00 a.m. is cancelled.

       4.      All Fed. R. Civ. P. 26(a)(1) disclosures shall have been completed by December

12,2018.

       5.      Expert disclosures shall be governed by the schedule set forth in paragraph III of

the Joint Discovery Plan. To the extent the parties wish to modify these deadlines,they must

seek leave of court.


       6.      If counsel believe that a settlement conference with the court would be of
Case 1:18-cv-00950-LO-JFA Document 60 Filed 12/17/18 Page 2 of 5 PageID# 783
Case 1:18-cv-00950-LO-JFA Document 60 Filed 12/17/18 Page 3 of 5 PageID# 784
Case 1:18-cv-00950-LO-JFA Document 60 Filed 12/17/18 Page 4 of 5 PageID# 785
Case 1:18-cv-00950-LO-JFA Document 60 Filed 12/17/18 Page 5 of 5 PageID# 786
